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                    IN THE UNITED STATES DISTRICT COURT FOR
                     THE EASTERN DISTRICT OF PENNSYLVANIA



 ATS TREE SERVICES, LLC
                Plaintiff,
        v.                                                 Case No. 2:24-cv-01743-KBH

FEDERAL TRADE COMMISSION;
LINA M. KHAN, in her official
capacity as Chair of the Federal Trade
Commission; and REBECCA KELLY
SLAUGHTER, ALVARO BEDOYA,
ANDREW N. FERGUSON, and
MELISSA HOLYOAK, in their official
capacities as Commissioners of the
FTC,
                Defendants.


UNOPPOSED MOTION OF PROFESSORS WILLIAM ARAIZA, JEFFREY LUBBERS,
  AND PETER M. SHANE FOR LEAVE TO FILE A BRIEF AS AMICI CURIAE IN
SUPPORT OF DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR STAY
         OF EFFECTIVE DATE AND PRELIMINARY INJUNCTION

       Professors William Araiza, Jeffrey Lubbers, and Peter M. Shane (“proposed amici”)

respectfully seek the Court’s leave to file the accompanying brief as amici curiae in support of

Defendants’ opposition to Plaintiff’s motion for stay of effective date and preliminary injunction.

The motion is unopposed.

       Proposed amici are leading legal academics and experts specializing in the fields of

administrative law and statutory interpretation. Proposed amicus William Araiza is the Stanley A.

August Professor of Law at Brooklyn Law School. Proposed amicus Jeffrey Lubbers is Professor

of Practice in Administrative Law at American University, Washington College of Law. Proposed
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amicus Peter M. Shane is the Jacob E. Davis and Jacob E. Davis II Chair in Law Emeritus at

Ohio State University, Moritz College of Law.

       A “district court’s decision to accept or reject an amicus filing is entirely within the

court’s discretion.” In re Nazi Era Cases Against German Defendants Litigation, 153 Fed. App’x

819, 827 (3d Cir. 2005). A district court “may grant leave to appear as an amicus if the

information offered it ‘timely and useful.’” Avellino v. Herron, 991 F. Supp. 730, 732 (E.D. Pa.

1998) (quoting Waste Mgmt. of Pa., Inc. v. City of New York, 162 F.R.D. 34, 36 (M.D. Pa. 1995).

       Proposed amici believe that their brief provides expert analysis and discussion of the

major questions doctrine and nondelegation doctrine, particularly as applied to this case.

Proposed amici submit that the brief will assist the Court in evaluating the questions raised

regarding these issues, particularly those concerning the relative novel major questions doctrine.

       Proposed amici further submit that the brief is timely: it is being submitted only six

calendar days after submission of Defendants’ opposition to Plaintiff’s motion, and its

consideration will not delay these proceedings.

       Counsel for proposed amici conferred with counsel for Plaintiff and counsel for

Defendants, all of whom indicated that their clients consented to the filing of this brief.

                                          CONCLUSION

       Proposed amici respectfully request that the Court grant leave to file their proposed brief.




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  Dated: June 10, 2024                     Respectfully submitted,

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                                             forthcoming

                                           Counsel for Amici Curiae


                             CERTIFICATE OF SERVICE

      I hereby certify that on June 10, 2024, the foregoing was electronically filed with the
Clerk of the Court using the ECF system.
                                                   /s/ David S. Cohen
